                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT CHATTANOOGA

 UNITED STATES OF AMERICA                        )       COLLIER/CARTER
                                                 )
         v.                                      )       CASE NO. 1:11-CR-17
                                                 )
 STEPHANIE BALL                                  )


                               REPORT AND RECOMMENDATION


         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on July 11, 2011.

 At the hearing, defendant entered a plea of guilty to Count One of the Indictment in exchange for

 the undertakings made by the government in the written plea agreement. On the basis of the

 record made at the hearing, I find that the defendant is fully capable and competent to enter an

 informed plea; that the plea is made knowingly and with full understanding of each of the rights

 waived by defendant; that it is made voluntarily and free from any force, threats, or promises,

 apart from the promises in the plea agreement; that the defendant understands the nature of the

 charge and penalties provided by law; and that the plea has a sufficient basis in fact.

         I therefore recommend that defendant's plea of guilty to Count One of the Indictment be

 accepted, that the Court adjudicate defendant guilty of the charges set forth in Count One of the

 Indictment, and the written plea agreement be accepted at the time of sentencing. I further

 recommend, based on a finding of exceptional circumstances, that defendant remain on bond,

 under the current bond conditions, pending sentencing in this matter. Acceptance of the plea,

 adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

 specifically reserved for the district judge.


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        The defendant’s sentencing date is scheduled for Thursday, October 6, 2011, at 9:00

 am.



                                               s/William B. Mitchell Carter
                                               UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen days after the plea
 hearing. Failure to file objections within fourteen days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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